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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ARM LTD.,                                      )
                                                )
                     Plaintiff,                 )
                                                )
        v.                                      )   C.A. No. 22-1146 (MN)
                                                )
 QUALCOMM INC., QUALCOMM                        )
 TECHNOLOGIES, INC. and NUVIA, INC.,            )
                                                )
                     Defendants.                )

                     NOTICE OF CHANGE OF FIRM AFFILIATION

       PLEASE TAKE NOTICE that Melissa F. Zappala, counsel for Defendants Qualcomm Inc.,

 Qualcomm Technologies, Inc. and NuVia, Inc., is now affiliated with the law firm of DUNN

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 9, 2025, I caused the foregoing to be electronically filed with

 the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

 participants.

        I further certify that I caused copies of the foregoing document to be served on

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